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                               IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF ARKANSAS
                                       FAYETTEVILLE DIVISION


               UNITED STATES OF AMERICA

               V.                              NO. 11-CR-50065-002

               ALFONSO VACA


                           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                     On September 5, 2012, the Defendant/Movant Alfonso Vaca

               (hereinafter “the Defendant”) filed a 28 U.S.C. § 2255 motion.

               (Doc. 50).     The Government has filed a Response (Doc. 57), and

               the Defendant has filed a Reply (Doc. 59).               The undersigned,

               being well and sufficiently advised, finds and recommends as

               follows with respect thereto:

                                                 BACKGROUND

                     1.     On May 25, 2011, Defendant and Co-Defendant Jose

               Antonio Ramirez-Mendoza were indicted and charged in Count One

               of the Indictment with conspiring to distribute more than 50

               grams of actual methamphetamine, in violation of 21 U.S.C. § §

               841(a)(1)    and   846.        Ramirez-Mendoza    was   charged    with   two

               additional     counts     of    distribution     of   methamphetamine,     in

               violation of § 841(a)(1), and one count of money laundering, in

               violation of 18 U.S.C. § 1956(a)(1)(B)(i).

                     2.     On September 12, 2011, Defendant pled guilty to Count

               One of the Indictment.         (Doc. 32.)   On April 4, 2012, Defendant


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               was sentenced to 84 months imprisonment, five years supervised

               release, and a $15,000.00 fine.                (Doc. 47.)         Defendant did not

               file a direct appeal.

                     3.    In the § 2255 motion now before the Court, Defendant

               argues that his appointed counsel, Ms. Kimberly Weber, was

               ineffective in two respects:

                     *     in   failing     to    object           to    the    imposition     of   the

                           $15,000.00     fine,     as        the       Court   did    not   consider

                           Defendant’s inability to pay the fine and did not

                           explain its reasons for imposing the fine; and

                     *     in failing to argue for a reduction based on his

                           mitigating role in the offense.

                                                  DISCUSSION

                     4.    The undersigned does not believe that an evidentiary

               hearing is warranted in this matter, as the § 2255 motion,

               files, and records in this case conclusively show that the

               Defendant is not entitled to relief.                     28 U.S.C. § 2255(b).        See

               Jeffries v. United States, 721 F.3d 1008, 1014 (8th Cir. 2013).

                     5.    To establish an ineffective assistance of counsel

               claim,     a     defendant        must         demonstrate           that     counsel’s

               representation      fell      below            an        objective      standard      of

               reasonableness,     and    that     he         was       prejudiced     by    counsel’s

               deficient performance.        See Strickland v. Washington, 466 U.S.

               668, 687 (1984).      As to the performance prong of the inquiry,


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               the    scrutiny      of    counsel’s     performance       must   be    highly

               deferential, without the distorting effects of hindsight, and

               there is a strong presumption that counsel’s conduct fell within

               the wide range of reasonable professional assistance.                   Id. at

               689.     As to the prejudice prong of the inquiry, the Defendant

               must prove prejudice by establishing that “but for the counsel’s

               unprofessional errors, the result of the proceeding would have

               been different.” Id. at 694.

                      6.     Defendant’s claim that counsel was ineffective in

               failing to object to the $15,000.00 fine is not cognizable under

               § 2255, as § 2255 affords relief only to prisoners claiming the

               right to be released from custody.           See United States v. Chacon-

               Vega, 2008 WL 313612, *1 (8th Cir. 2008), citing United States v.

               Bernard, 351 F.3d 360, 361 (8th Cir. 2003) (holding that an

               inmate      could   not   challenge    the   restitution    portion    of   his

               sentence under § 2255).

                      7.     As to Defendant’s remaining claim, contrary to his

               assertion, counsel did in fact argue for a reduction based on

               Defendant having a minor role in the offense, but the Court

               rejected this argument, finding that Defendant was a “central

               and not a peripheral figure” in the conspiracy.              (Doc. 56 at pg.

               9.)    Accordingly, the undersigned sees no merit to this claim.




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                                             CONCLUSION

                     8.    Based upon the foregoing analysis, the undersigned

               recommends that Defendant’s § 2255 motion (Doc.             50) be DENIED

               and DISMISSED WITH PREJUDICE.

                     An appeal may not be taken in this matter unless the Court

               issues a certificate of appealability, which shall be issued

               only if "the applicant has made a substantial showing of the

               denial of a constitutional right."         28 U.S.C. § 2253(c)(1)(B) &

               (c)(2).    A "substantial showing" is a showing that “‘issues are

               debatable among reasonable jurists, a court could resolve the

               issues differently, or the issues deserve further proceedings.’”

               Cox v. Norris, 133 F.3d 565, 569 and n.2 (8th Cir. 1997).             Based

               upon the above analysis of Defendant’s § 2255 motion, the

               undersigned does not believe that there is any basis for the

               issuance of a certificate of appealability and, therefore,

               recommends, that a certificate of appealability be denied.

                     The parties have fourteen days from receipt of the report

               and recommendation in which to file written objections pursuant

               to 28 U.S.C. § 636(b)(1).     The failure to file timely objections

               may result in waiver of the right to appeal questions of fact.

               The parties are reminded that objections must be both timely and

               specific to trigger de novo review by the district court.




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                     DATED this 20th day of March, 2014.




                                             /s/ Erin L. Setser
                                               HON. ERIN L. SETSER
                                               UNITED STATES MAGISTRATE JUDGE




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